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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
195 E76 LLC,
                                                                          10/16/2020
                   Plaintiff,

                                                                20 Civ. 2541(ALC)

                       - against -                              Order

Savaria Corporation,
,

                  Defendant.
----------------------------------------------------------X

ANDREW L. CARTER, JR., United States District Judge:

        On October 1, 2020, this Court issued an Order to Show cause why the instant case

should not be dismissed without prejudice pursuant to Federal Rule of Civil Procedure 4(m) for

failure to timely serve the complaint and summons. ECF No. 12. Plaintiff was ordered to respond

in writing no later than October 15, 2020. To date, there has been no response from Plaintiff.

Therefore the Court hereby DISMISSES this claim. The Clerk of Court is respectfully directed to

close this case.

SO ORDERED.
Dated: New York, New York
       October 16, 2020


                                                    ____________________________
                                                    ANDREW L. CARTER, JR.
                                                    United States District Judge
